Case 2:05-cr-00053-JES-D_F Document 324 Filed 01/13/06 Page 1 of 2 PageID 670



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION



UNITED STATES OF AMERICA


vs.                                                        2:05-cr-53-FtM-29DNF


RAFAEL LOPEZ
_____________________________



                                     ORDER

      This matter comes before the Court on Defendant’s Objections

to Pre-Sentence Report (Doc. #319), filed on January 11, 2006.

Defendant has submitted a one paragraph statement which he asserts

now   complies     with   his    obligations     under     the   “safety   valve”

provisions of the Sentencing Guidelines.             The Court doubts that a

unilateral written statement can ever comply with defendant’s

obligation    to   “truthfully      provide[     ]   to    the   Government   all

information and evidence the defendant has concerning the offense

or offenses that were part of the same course of conduct or of a

common scheme or plan, . . .”                 U.S. Sentencing Guidelines, §

5C1.2(a)(5).      Even if compliance may be possible with a unilateral

statement, it is clear from the face of the statement provided by

defendant    in    this   case    that   he    has   not    complied   with   his

obligations under § 5C1.2(a)(5).

      Accordingly, it is now

      ORDERED:
Case 2:05-cr-00053-JES-D_F Document 324 Filed 01/13/06 Page 2 of 2 PageID 671



      Defendant’s Objections to Pre-Sentence Report (Doc. #319) is

OVERRULED.

      DONE AND ORDERED at Fort Myers, Florida, this          13th    day of

January, 2006.




Copies:
AUSA
Counsel of Record




                                     -2-
